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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2023 OK 66Case Number: SCBD-7492Decided: 06/12/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 66, __ P. __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2022



ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION



On May 25, 2023, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to comply with mandatory legal education requirements for the year 2022 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules.

This Court finds that on March 15, 2023, the Executive Director of the Oklahoma Bar Association mailed, by certified mail, to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2022.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF JUNE, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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OBA # 20028
David James Bedford
925 NW 6th St
Oklahoma City, OK 73106-7242

OBA # 20467
Debra Dawn Campbell
PO Box 571
Wellston, OK 74881-0571

OBA # 1675
Mark D Christiansen
6208 Waterford Blvd Apt 100
Oklahoma City, OK 73118-1113

OBA # 21140
Mary Elizabeth Clark
203 E Main St
Madill, OK 73446-2240

OBA # 33500
Matthew Allen Dunn
8725 S Nogales Ave
Tulsa, OK 74132-5501

OBA # 2646
Rodney Alan Edwards
11525 S Par Ave, Apt 201
Bixby, OK 74008-5077

OBA # 34660
Degol Tseggai Gherezghiher
2341 NW 198th St
Edmond, OK 73012-5220

OBA # 19466
Raphael Thomas Glapion
433 N Air Depot Blvd Apt 7
Midwest City, OK 73110-1722

OBA # 4184
Curley Higgins
420 S Lawton Ave Apt 517
Tulsa, OK 74127-8929

OBA # 15578
Brian Edward McMahan
12138 Peck Dr
Spencer, OK 73084-8401

OBA # 10422
Sue Ann Nicely
4624 NW 58th St
Oklahoma City, OK 73122-7706

OBA # 13771
Michele Lynn Schultz
211 W Main St
Weatherford, OK 73096-4838

OBA # 30258
Ryan Houston Smith
3620 Meadow Lark Ln
Oklahoma City, OK 73120-8935

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